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                                                                                                  January 11, 2021




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SHAREN SINGH,                                                           :
                                                                        :
                               Plaintiff,                               :   REVISED
                                                                        :   BRIEFING SCHEDULE
                     - v. -                                             :
                                                                        :   19 Civ. 10273 (ALC)
                                                                        :
COMMISSIONER OF SOCIAL SECURITY,                                        :
                                                                        :
                               Defendant.                               :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

          IT IS HEREBY ORDERED that:



1.        Defendant’s response to plaintiff’s motion is due on or before January 22, 2021.

2.        Plaintiff’s reply, if any, is due on or before February 12, 2021.




SO ORDERED:



United States District Judge Andrew L. Carter, Jr.
      January 11, 2021
